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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


   MICHAEL GONIDAKIS, et al,

                 Plaintiffs,                        :   Case No. 2:22-cv-0773


          v.
                                                    :   Chief.Judge Algenon L. Marbley
                                                    :   Judge Amul R. Thapar
   OHIO REDISTRICTING                               :   Judge Benjamin J. Beaton
   COMMISSION, t'/o/.,

                  Defendants.


                                               ORDER


          Per the schedule established at the preliminary injunction hearing, post-hearing response

   briefs are due Monday, April 11. 2022. In those same briefs, the parties shall address three

   additional questions posed by the panel:

       1. Is there a federal right to vote in a primary if state law requires a primary for state

          elections? Please provide the specific text in the Constitution or a constitutional doctrine

          that grounds this right.

      2. May Ohio simply not hold a primary and have a general election? If so, how would Ohio

          law provide for a general election for those seats?

      3. Does the federal court have authority to move a primary election? Where does this

          authority come from?

          IT IS SO ORDERED.




                                                ALGEN<
                                                CHIEF U^ITfkaST^T-E^-DlSTRTC
                                                On behalfofthe three-judge panel

   DATED: April 7, 2022
